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                         CITIES/COUNTIES NEGOTIATION CLASS
                            FREQUENTLY ASKED QUESTIONS
                                      (“FAQs”)


1.       Q: Why is a Negotiation Class being formed? What is its purpose?

        A: The purpose of the Negotiation Class is to create a cohesive group of cities and
counties to negotiate Classwide settlements, on a voluntary basis, involving defendants who are
engaged in nationwide opioid manufacturing, sales or distribution. The Negotiation Class will
be represented by Class Representatives and Class Counsel. Class members will vote on any
resulting settlement proposal, and any settlements that achieve a 75% supermajority “yes” vote
by the Class (as described in FAQ 14 and 15 below) will go to the Court for formal approval.
The ultimate purpose of creating a Negotiation Class is to make settlement easier to obtain.

2.       Q. What entities are included in the Negotiation Class?

         A. The Negotiation Class is defined as:

              All counties, parishes, and boroughs (collectively, “counties”); and
              all incorporated places, including without limitation cities, towns,
              villages, and municipalities, as defined by the United States Census
              Bureau (collectively “cities”); as listed on the Opioids Negotiation
              Class website, www.opioidsnegotiationclass.com. (“Class website”)

        Check the Cities (2010 United States Census Bureau) and Counties (2010 United States
Census Bureau) lists posted on the class website to confirm whether you are included in one of
these lists. If yes, you are a Negotiation Class member. The Class papers speak of “counties”
and “cities” as shorthand terms. The Class by definition includes political subdivisions with
other names and titles, such as parishes, villages, towns, etc., so long as they appear on the U.S.
Census bureau lists of “counties” or “incorporated places”.

3.       Q: Is this the first Negotiation Class?

        A: Yes. This is a new use of the class action mechanism under Rule 23 of the Federal
Rules of Civil Procedure, reflecting the unique nature of the national Opioids litigation. Unlike
any mass litigation before, thousands of cities and counties nationwide are pursuing claims
against major defendants. The goal is to recover money to help fight the opioids epidemic,
provide prevention and treatment services going forward, and change defendants’ practices.

4.       Q: Why use a class mechanism?

       A: Joining all cities and counties together as a Negotiation Class gives them maximum
negotiating power, makes the negotiation of global settlements a more practical process, allows
defendants to obtain global resolution, and enables Class Members to vote on resulting
settlement offers.




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5.       Q: Has there been a settlement reached with defendants yet?

         A: No. No settlement has been reached with any defendant. But the existence of a Class
of cities and counties makes future settlement offers more likely, because a defendant will be
able to obtain “global peace.”

6.       Q: If a Negotiation Class is formed, will it end the opioid litigation that my
         jurisdiction has filed?

       A: No. Your membership in the Negotiation Class will not affect any opioid suit that
you have filed. It will not stop you from filing or pursuing a lawsuit, and it will not affect any
scheduled hearings or trials in that lawsuit. Only a final classwide settlement would do that, after
supermajority vote to approve it and after final Court approval.

7.       Q: How Does the Allocation Model Work?

        A: The allocation model uses three factors, based on reliable, detailed, and objective
national data, to determine the share of a settlement fund that each county would receive
(distribution of that share within the county is addressed in FAQ 10 below). These factors
address the most critical causes and effects of the opioids crisis, and are each weighted equally
(1/3-1/3-1/3): (1) the amount of opioids distributed within the county, (2) the number of opioid
deaths that occurred in the county; and (3) the number of people who suffer opioid use disorder
in the county. This model is designed not to favor either small or large counties based solely on
population. However, population is still taken into account because each of the three metrics
tends to increase with population. Ultimately, the model allocates settlement funds
proportionally to where the opioid crisis has caused actual harm. To ensure objectivity and
transparency, the model uses only data collected and reported by the federal government, and
follows the reporting mechanisms deemed most relevant by public health authorities in
measuring opioids-related harm. Detailed descriptions of the sources and methodologies for
each of the three factors are posted at opioidsnegotiationclass.com.

8.       Q: What will happen with this proposed Class?

         A: The creation of the Negotiation Class has these steps:

             •   On June 14, 2009, plaintiffs will file a motion for class
                 certification to Judge Polster, the federal judge overseeing all of
                 the national opioids litigation, to be heard on June 25, 2019. This
                 hearing will be the first step in the authorization process for the
                 Class.

             •   If Judge Polster approves, a formal notice will then go out to all
                 Class Members. That will be the beginning of a 60-day period


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                 during which each Class Member can decide to participate, to opt
                 out, or to object to some feature of the proposed Class. Class
                 Members who want to participate do not need to do anything at
                 this point; only those seeking not to participate must file an opt-out
                 form.

             •   A final hearing on the Class will be held on [September __]. At
                 that time, the Court will enter an order approving or rejecting the
                 Class. If the Court approves the Class, the Court will also enter an
                 order saying who is in and who is out of the Class.

             •   After that, the Class will operate if, and only if, a national
                 defendant wishes to negotiate with the Class as a whole through
                 the Negotiation Class mechanism. If a proposed settlement is
                 reached by the Class Negotiators, then the proposal will be
                 submitted for Class approval or rejection according to the
                 supermajority voting formula (described in FAQ 14, 15 and 16
                 below). If no proposed settlement is reached, the Class will not
                 vote and will have no other role.

9.       Q: Under this proposal, what happens to my jurisdiction’s current fee agreement
         with outside counsel?

        A: The current fee agreement that a city or county has with its outside counsel remains
in effect. Membership in the Negotiation Class does not change that. In the event of any
settlement that achieves Class and Court approval, there would be a fund from which outside
counsel could apply for fees and costs in lieu of any current fee agreement. That would be a
voluntary choice, a decision between the city or county and its outside counsel. A total of 10%
of any approved Class settlement amount will be held in a Private Attorneys Fund from which
privately retained lawyers who forego their retainer agreements could recover for the work they
have done. Any unawarded amount remaining in this Fund would revert to the Class.

10.      Q: What will Negotiation Class Representatives receive that other jurisdictions
         don’t get?

        A: Negotiation Class representatives do not receive preferential treatment under any
settlement simply by serving as Class representatives. They could apply to the Court for
reimbursement of costs and expenses incurred by serving as Class representatives, in what is
called an incentive or service award, designed to encourage action by Class representatives on
behalf of others. Any such awards are subject to Class notice and Court approval.




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11.      Q: What if cities, towns, and boroughs within a county have different views of how
         to allocate any settlement proceeds?

        A: The Negotiation Class includes a two-step formula for allocation of any settlement
funds. Allocation of funds is first made between all counties in the country, according to the
harm they have suffered. Harm is measured using published federal statistics regarding the
amount of opioids shipped to the county, the number of opioid overdose deaths that occurred in
the county, and the number of persons suffering from opioid use disorder in the county. The
formula and its data sources are described in detail at opioidsnegotiationclass.com. A second
allocation then takes place between each county and the cities located within it, and is overseen
by a Special Master. A county and the cities within it may share the funds allocated to the
county in any manner they choose. If the county and cities cannot agree, then a default
allocation formula will apply, unless the Special Master accepts a different formula submitted for
consideration. The default allocation formula uses historical federal data showing how the
specific county and the cities within it have made opioids-related expenditures in the past. This
formula and its data sources are also described in detail at opioidsnegotiationclass.com.
Counties and their constituent cities, towns, and boroughs are encouraged to confer and agree,
among themselves, as to the distribution of any funds allocated at the county level in any
settlement.

12.      Q: If my jurisdiction chooses to participate in the Negotiation Class, how will it
         know when there is a proposed settlement?

        A: All Negotiation Class members will be given advance notice of any settlement offer,
including details on its terms and conditions, and they will have an opportunity to vote on each
individual settlement offer. Only settlements achieving supermajority (75%) approval votes, by
number, by allocation, and by population, of the litigating and non-litigating entities will be
submitted to the Court for formal settlement Class approval. You will be able to cast your vote
securely, through the Negotiation Class website, which will establish a voting identity and portal
for each Class member.

13.      Q: If there is a proposed settlement, does the Court still have to approve it?

        A: Yes. If there is a proposed settlement that achieves supermajority (75%) approval by
the Negotiation Class membership, the Court will review and decide whether to approve it,
utilizing the formal Class action settlement approval process and criteria set forth in Fed. R. Civ.
P. 23(e). (See https://www.law.cornell.edu/rules/frcp/rule_23.)

14.      Q: If there is a proposed settlement and my jurisdiction is included in the
         Negotiation Class, but it disapproves of the settlement terms, can my jurisdiction
         object to the settlement?




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        A: Yes. As a Negotiation Class member, you are entitled under Rule 23(e) to object to
any settlement, even if it has received a supermajority (75%) approval from the Class.

15.      Q: How is the voting done?

        A: Each Class Member will vote only once. The vote is simply yes or no, in favor or
against the proposed settlement. Votes are then tabulated mechanically within each applicable
voting pool, to make sure a supermajority of each pool is in favor of the proposed settlement
before it is presented to the Court. The voting pools are described in FAQ 15. Voting tabulation
does not require any effort on the part of the Class Members, who simply cast a single vote on
the ultimate issue. The requirement of a supermajority across the different voting pools ensures
a wide cross-section of support from cities and counties of all sizes and interests.

16.      Q: Exactly how does the Supermajority Voting Process Work?

        A: The agreement to be bound by a supermajority vote means that no settlement can be
reached that would bind the Negotiation Class without the approval of a supermajority of the
Class, defined in several ways. To be binding, 75% of each of the following six categories must
approve a proposed settlement:

         •     75% of the total number of cities and counties that have filed suit
               as of June 14, 2019 (“litigating entities”). This number is based on
               all individual Class members who had suits on file regardless of
               size, so that each voting entity has one vote;

         •     75% of the total population of all cities and counties that have filed
               suit as of June 14, 2019. For this computation, the vote of the city
               or county is weighted according to its population, with each person
               in a voting city and each person in a voting county equal to one
               vote. Thus, by way of example, if a county votes yes and has a
               population of 20,000, and a city within the county votes yes and
               has a population of 10,000, the county’s vote is weighted as 20,000
               votes in favor, and the city’s vote is recorded as 10,000 votes in
               favor. The population for each jurisdiction is drawn from the 2010
               Census data, and is presented on the litigation website,
               opioidsnegotiationclass.com. The data will be updated once 2020
               Census figures become available. Many individual residents in
               this category may be counted twice, once as a resident of a
               municipality, and once as a resident of a county;

         •     75% of the total population of all cities and counties that have not
               filed suit as of June 14, 2019. For this computation, the vote of the



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               city or county is weighted according to its population, with each
               person in a voting city and each person in a voting county equal to
               one vote. Thus, by way of example, if a county votes yes and has a
               population of 20,000, and a city within the county votes yes and
               has a population of 10,000, the county’s vote is weighted as 20,000
               votes in favor, and the city’s vote is recorded as 10,000 votes in
               favor;

         •     75% of the total population of all cities and counties that have not
               filed suit as of June 14, 2019. For this computation, each person in
               a voting city and each person in a voting county is the equivalent
               of one vote. The population for each jurisdiction is drawn from the
               2010 Census data, and is presented on the litigation website,
               opioidsnegotiationclass.com. The data will be updated once
               2020 Census figures become available. Many individual residents
               in this category may be counted twice, once as a resident of a
               municipality, and once as a resident of a county.

         •     75% of the litigating entities, weighted by their settlement fund
               allocations as shown on the Settlement Map and calculator to be
               posted at opioidsnegotiationclass.com.

         •     75% of the non-litigating entities, weighted by their settlement
               fund allocations as shown on the Settlement Map and calculator to
               be posted at opioidsnegotiationclass.com.

In order for a proposed settlement to be binding on the Negotiation Class, a 75% supermajority
in each of these six categories must vote in favor. No settlement may be approved as binding
unless all categories are in favor at the requisite 75% level. For purposes of counting votes, only
votes cast will be considered. Consistent with the voting rules in Section 524(g) of the
bankruptcy code, which also requires special qualified majorities for different categories, non-
votes are not considered as part of the denominator. The 75% figure is calculated on the basis of
the votes actually cast. Votes cast are included in multiple pools, and a supermajority of a 75%
“yes” vote in all six of these pools is required for Class approval.

17.      Q: How do Class Counsel get paid?

       A: Class Counsel will apply to the Court for approval of fees and costs under Rule 23(h).
As a Class member, you will have notice and an opportunity to be heard on any such application.
The Court will appoint fee committees to make recommendations of any fee awards, to avoid
duplication of payment, and to assure appropriate compensation of those whose efforts provided
a common benefit.


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18.      Q: Can I exclude myself from the Negotiation Class?

        A: Yes. You may exclude yourself, or “opt out,” by signing, notarizing, and emailing a
statement such as “I wish to exclude myself from the Negotiation Class” to [email address] by
[date to be set by the Court]. This request must be signed by an authorized official or employee
of the city or county itself. If you exclude yourself from the Negotiation Class, you will not be
bound by any Orders or Judgments regarding the Class, and you will not share in any settlement
reached by the Class. See the attached chart for explanation of the effect of a choice to opt out.

19.      Q: What is the Special Needs Fund?

        A: The Special Needs Fund will be created with 15% of any approved Class settlement
amount. Applications may be made to the Special Needs Fund by any Class member.
Distributions from the Special Needs Fund to Class Members are allowed for: (1) a Class
Member to recover its own costs of litigating its lawsuit; and (2) to obtain additional relief for
any local impact of the opioids crisis that is not captured by the Class Member’s automatic
allocation. Applications will be made to and approved by a court-appointed Special Master, on a
case-by-case basis. Any unawarded amount remaining in this Special Needs Fund would revert
to the Class.

20.      Q: How long will the Negotiation Class Last?

        A: The Negotiation Class will last for 5 years from the date it is confirmed by the Court.
For example, the Negotiation Class will expire on September 15, 2024, if the Court enters an
order confirming the class on September 15, 2019. After that date, the Class will not exist as an
entity with which a defendant can negotiate. However, the Negotiation Class will continue to
exist with regard to: (1) any settlements presented to the Negotiation Class for a vote before that
date, to allow the settlement voting and approval process to continue; and (2) Class settlements
reached before that date, to enable settlement administration and enforcement to be completed.

21.      Q: If there is a settlement between a defendant and a State or States, what impact
         will this Class Action settlement have on the division of monies between a State and
         the cities and counties within the State?

        A: Nothing in a Class Negotiation Settlement itself would affect the distribution of
monies from a State to a city or county, or among the States. However, the parties recognize it is
probable that one or more defendants will seek to resolve the Opioid litigation by a joint
settlement offer to one or more States and the cities and counties within that State. If a defendant
offers a settlement of this nature, it would lead to discussion between the State and the cities and
counties within the State. The first preferred result of that discussion is for each State to reach
agreement with the cities and counties within the State on the allocation and use of the money
within the State. In the absence of an agreement, there would be a negotiation of an appropriate
allocation. If an allocation negotiation arises, three representatives from the Class -- Louise


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Renne (former City Attorney for the City and County of San Francisco), Mark Flessner (City of
Chicago Corporate Counsel), and Zachary Carter (Corporation Counsel of the City of New
York), and potentially several others to be designated as appropriate after Class membership is
known, will join the Negotiating Team, with their sole focus being the allocation of monies
between the States and the cities and counties. Any agreed-to allocation would be treated as a
settlement and submitted to the Negotiation Class for its consideration. Again, the preferred
alternative would be for a State and the cities and counties within the State to reach agreement.

22.      Q: How can I keep up with what’s going on in this case?

       A: All pertinent news and information will be posted on opioidsnegotiationclass.com on
an ongoing basis.




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